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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Adam Romanowicz
                                                        Plaintiff,
v.                                                                      Case No.:
                                                                        1:18−cv−02766
                                                                        Honorable Ruben
                                                                        Castillo
Village Green Management Company LLC, et al.
                                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 27, 2018:


       MINUTE entry before the Honorable Ruben Castillo:The status hearing is reset to
7/3/2018 at 9:45 a.m. The status hearing set for 6/28/2018 is stricken.(rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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